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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

 BRADLEY DAVIDS                       )
                                      ) Case No. 3:14-cv-00228-HRH
                    Plaintiff,        )
                                      ) JOINT STIPULATION
        vs.                           ) FOR DISMISSAL
                                      )
 UNITED STATES OF AMERICA,            )
                                      )
                    Defendant.        )
                                      )

      The parties, through counsel, stipulate to dismiss the above matter

with prejudice, with each party to bear its own costs and attorney fees.




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       DATED this 4th day of January, 2017, at Anchorage, Alaska.



                                            KAREN L. LOEFFLER
                                            United States Attorney


                                            s/E. Bryan Wilson
                                            E. BRYAN WILSON
                                            Assistant U. S. Attorney
                                            Attorney for the United States of America


CERTIFICATE OF SERVICE

I hereby certify that on January 4, 2017,
a copy of the foregoing
was served electronically on:

William Cook, Esq.

s/E. Bryan Wilson
Office of the U.S. Attorney




Davids v. United States of America
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